UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)

LAURENCE M. ADAMS, )
Plaintiff, )

)

v. ) C.A. NO.: 1:07-cv-10698-RGS

)

CITY OF BOSTON, )
Defendant. )

)

DEFENDANT CITY OF BOSTON’S
DECLARATION OF INTENT

As requested by order of this Court dated September 9, 2008, the City of
Boston hereby files this Declaration of Intent. The City of Boston hereby states that
if a judgment is returned against one or more Boston Police Officers for any alleged
violation of Laurence Adam’s constitutional rights, should such be proven at a trial
in this matter, the City of Boston will satisfy a judgment to the extent permitted by
law and in accordance with M.G.L.c. 258 Section 9. By filing this Declaration, the
City of Boston does not waive its right of appeal and expressly reserves any and all

appellate rights to challenge the validity of an adverse judgment.
Defendant,
CITY OF BOSTON,
By its attorneys,

/s/ Dugh R. Curran

Hugh R. Curran (BBO# 552623)
Bletzer and Bletzer, PC

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CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that on the day of August, 2008, I
electronically filed with within document with the Clerk of the United States District
Court for the District of Massachusetts, using the CM/ECF System. The following
participants have received notice electronically:

For Plaintiff Laurence M. Adams,
John J. Barter

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/sf Hugh R. Curran

